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                                                                                                               N.D. OF ALABAMA




                                            Bellefonte Nuclear Pro ject


   Job Creation and Economic Impact
      • Creates an average of 8,420 jobs per year during the constmction period and $12.6 billion in
         economic and fiscal impact
      • Creates an average of 4,176 jobs jobs per year during the 60-year oeprational period and $37.7
         billion in economic and fiscal impact


   Political Advantage both in Tennessee and Alabama
       • Jobs created in both States
      • Approximately $500 million in annual savings to Memphis customers


   Equity:
      • TVA has spent to date over $9 billion dollars on these plants ($4.5 billion per Plant)
      • Nuclear Development purchased this asset for "Scrap Value" creating this huge opportunity
      • Nuclear Development has raised in addition $2.179 billion in "Cash Equity" internally and from
             the prime contractor and their subcontractors.
      • $6.679 billion in total equity value in Bellefonte Unit 1.
      • DOE debt ($4.4 billion excluding construction interest) to Equity ($6.679 billion) is 40 to 60%
             debt to equity ratio that far exceeds the 80 to 20% DOE requirement.


   A "Win" for the US Nuclear Industry

      • The nuclear industry is failing in the US because of the situation at Vogtle and Summer while
         nuclear plants are being built in UAE, India, China, Russia, and 8 units planned in Saudi Arabia
      • In the US where the technology originated, we are shutting good plants instead of building more.
      • Bellefonte can provide this win. Bellefonte will reinvigorate the US nuclear industry and change
             the face of how nuclear projects are done in this Country.




                                                                                                   EXHIBIT


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                                                                                                 Johnson


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